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FOIA Summons (1/13) (Page 2)

Civil Action No. 19-cv-00070

                                                       PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (I))

          This summons for (name of individual and title, if any)   U.S . Department of Justice - Attorney General
was received by me on (date)                  01/15/2018

          0 I personally served the summons on the individual at (place)
                                                                                ------             - - -----               -----
                                                                                on (date)                           ; or

          0 I left the summons at the individual's residence or usual place of abode with (name)
                                                                                                             ----      ------
                                                            ' a person of suitable age and discretion who resides there,
         ----          -----         ------            -
          on (date)                            ' and mailed a copy to the individual's last known address; or

          0 I served the summon s on (name of individual)                                                                        , who is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                           ; or

          0 I returned the summons unexecuted because                                                                                ; or
                                                                    ---    ----------                     -----            ---
          ,J Oth           ify) . On January 18, 2019, I sent the summons via Certified Mail, Return Receipt Requested,
                   er 0speci · Article No. 7018 0680 0001 9306 6324.




          My fees are$                         for travel and $                  for services, for a total of$              0.00


          I declare under penalty of perjury that this information is true.


Date:           01/23/2019
                                                                    -~
                                                                    ~~ ~
                                                                                   Matthew L. Schafer
                                                                                    Printed name and title


                                                                             111 East 18th Street, 14th Floor
                                                                                  New York, NY 10003
                                                                                       Server's address


Additional information regarding attempted service, etc:
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USPS Tracking
                                 ®
                                            FAQs      (https://www.usps.com/faqs/uspstracking-faqs.htm)




                                     Track Another Package         +
                                                                   +

                                                                                             Remove   
Tracking Number: 70180680000193066324

Expected Delivery on

WEDNESDAY

23          JANUARY
            2019 
                           by
                           8:00pm 




                                                                                                      Feedback
 Delivered
January 23, 2019 at 5:56 am
Delivered
WASHINGTON, DC 20530 

Get Updates   




                                                                                                  
   Text & Email Updates


                                                                                                  
   Tracking History


   January 23,
   January 23, 2019,
               2019, 5:56
                     5:56 am
                          am
   Delivered
   WASHINGTON, DC 20530 
   Your item was delivered at 5:56 am on January 23, 2019 in WASHINGTON, DC 20530.



   January 22,
   January  22, 2019,
                2019, 10:42
                      10:42 am
                            am
   Available for Pickup
   WASHINGTON, DC 20530 
               Case 1:19-cv-00070-TNM Document 6 Filed 01/23/19 Page 3 of 4
January 22,
January  22, 2019,
             2019, 9:32
                   9:32 am
                        am
Arrived at Unit
WASHINGTON, DC 20018 



January 21,
January  21, 2019
              2019
In Transit to Next Facility



January 20,
January  20, 2019,
             2019, 8:23
                   8:23 am
                        am
Arrived at USPS Regional Destination Facility
WASHINGTON DC DISTRIBUTION CENTER 



January 20,
January  20, 2019,
             2019, 12:19
                   12:19 am
                         am
Arrived at USPS Regional Destination Facility
WASHINGTON DC DISTRIBUTION CENTER 



January 18,
January      2019, 11:19
         18, 2019, 11:19 pm
                         pm
Arrived at USPS Regional Origin Facility
JERSEY CITY NJ NETWORK DISTRIBUTION CENTER 




                                                                                         Feedback
January 18,
January     2019, 4:25
        18, 2019, 4:25 pm
                       pm
USPS in possession of item
NEW YORK, NY 10010 




                                                                                     
Product Information



                                                See Less   




                        Can’t find what you’re looking for?
                Go to our FAQs section to find answers to your tracking questions.


                   FAQs (https://www.usps.com/faqs/uspstracking-faqs.htm)
                Case 1:19-cv-00070-TNM Document 6 Filed 01/23/19 Page 4 of 4




             The easiest tracking number is the one you don't have to know.

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                                                                                          Feedback
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                               (https://reg.usps.com/entreg/RegistrationAction_input?
*NOTE: Black and white (grayscale) images show the outside, front of letter-sized envelopes and
mailpieces that are processed app=UspsTools&appURL=https%3A%2F%2Ftools.usps.com%2Fgo
                              through USPS automated equipment.
